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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    KATHRYN TOWNSEND GRIFFIN, et
     al.,
4
                      Plaintiffs,
5
                 v.                                 17 Cv 5221 (LLS)
6
     EDWARD CHRISTOPHER SHEERAN,
7    personally known as Ed
     Sheeran, et al.,
8
                      Defendants.
9
     ------------------------------x
10                                                  New York, N.Y.
                                                    April 24, 2023
11                                                  11:00 a.m.

12

13
     Before:
14
                              HON. LOUIS L. STANTON,
15
                                                    District Judge
16
                                    APPEARANCES
17
     FRANK & ASSOCIATES PC
18   BY: PATRICK RYAN FRANK
          KEISHA RICE
19        KATHERINE VIKER
          - AND -
20   BEN CRUMP LAW
     BY: BEN CRUMP
21        Attorneys for Plaintiffs

22   PRYOR CASHMAN LLP
          Attorneys for Defendants
23   BY: ILENE SUSAN FARKAS
          DONALD S. ZAKARIN
24        ANDREW MARK GOLDSMITH
          BRIAN MAIDA
25

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1              (In robing room)

2              THE COURT:     First thing's first.       The jury is almost

3    ready.   The panel is almost ready to come up.            So I thought

4    that we'd accumulated a questions that you might want answers

5    to and that don't require the jury.         That's why I asked you in.

6              For example, the splitting of the closing argument,

7    taking last thing first, I have no objection in principle.                In

8    civil cases, the practice here is usually plaintiff, defendant,

9    plaintiff.   It's really the same as the criminal system.                So

10   this would really mean that she takes the closing argument, you

11   take the opening closing argument.

12             MR. FRANK:     I understand.

13             THE COURT:     I have no objection to that.         Do you?

14             MS. FARKAS:    I don't know that it matters, but it

15   actually might.    I think their proposal was not that Mr. Frank

16   do the second closing.      It was Mr. Crump.

17             Our concern -- so to the extent that they want one

18   person to do part one and another person to do the closing

19   closing, so to speak, I might not typically have any care

20   about.

21             We have real concerns in this case though about the

22   type of closing remarks that Mr. Crump has been brought here to

23   bring to the jury's attention.      Mr. Crump, as far as we can

24   tell, has had no participation in any of the pretrial

25   proceedings.

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1              He hasn't been in any of the depositions.             He only

2    came into this case on behalf of the plaintiffs when a trial

3    was originally set in 2020 which, in and of itself, is fine.

4              Since that time, he has held two press conferences

5    where the complete and sole focus of those press conferences

6    were to bring race issues into this case about casting

7    aspersions on our clients, about racial inequality and stealing

8    from people of color.

9              There are no witnesses in this case on this issue.

10   There is no evidence in this case on this issue.             As your Honor

11   has pointed out, this is a copyright claim about two songs.

12             And our concern about Mr. Crump's appearance in this

13   case in general but, particularly that letter to your Honor

14   where he wants to give, as they put it "closing remarks," we

15   are very concerned about not only the irrelevant nature of this

16   type of speech, as well as the fact that there will be zero, as

17   far as we can tell, foundation for it at trial, but the obvious

18   prejudice to the jury.

19             So I would love to hear from the plaintiffs if I'm

20   wrong about that.

21             MS. RICE:      Your Honor, we don't have a position as to

22   what Mr. Crump has to say, other than what our response was to

23   counsel when they brought the issue up.          And that's simply it's

24   just closing remarks.

25             THE COURT:      Why is it preferable, from your

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1    standpoint, to have him rather than one of you?

2               MS. RICE:     I think that from our perspective, I think

3    that there's a certain style that we believe connects really

4    well with the jury.       He's demonstrated that style over the

5    years.

6               So I don't know if it's necessarily substance-based

7    rather than style-based.       If it was substance-based, then it

8    would be something that either myself or Mr. Frank could do.

9    It is definitely a style.

10              We don't feel it's going to be offensive or

11   substantively objectionable simply because his goal is always

12   really to connect with juries, not necessarily as what they

13   seem to be claiming, race-based juries.

14              That's not his intent.        So he really just wants to

15   connect with the jury on a very human level.               It's something

16   that he does really well.

17              MS. FARKAS:     Your Honor, I would just like to show one

18   thing that came into our press feed this morning.               This is an

19   AP reporting on the feed.       This is Mr. Crump's quote.

20              MR. FRANK:     Do you mind sharing that with us as well.

21              MR. ZAKARIN:     That's what our concern is, your Honor.

22              THE COURT:     I think this summarizes the reasons why I

23   think it's better for one of you to do it.            The final sentence

24   here:    "Ben Crump, a civil rights attorney who represents the

25   Townsend family but is not involved in the trial, said at a

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1    March 31 news conference."

2              The purpose of the closing argument is it sums up the

3    trial for the jury.       And I think an outsider coming in because

4    his style is thought to gain some traction is a very doubtful

5    idea and rather scary in this trial where the effort has been,

6    in many instances, to get in, in one way or the other, evidence

7    that I have indicated is inadmissible.          So let's do it the

8    old-fashioned way.

9              MS. RICE:      So, your Honor, does that mean that you

10   want to limit what's said or you want to limit the speakers?

11             THE COURT:      I assume what will be said is what's usual

12   to say in the closing argument, and I think the people best

13   qualified to do that are the two lawyers that have tried the

14   case, either one of them, as you choose.

15             I've tried a lot of cases when I was practicing law

16   for 30 years.    There was a theory then that it was a good thing

17   for the jury to hear the voice and the personality of only one

18   lead lawyer, but I don't know how much merit there was to it.

19             MR. ZAKARIN:      I still believe that, your Honor.

20             THE COURT:      You see.

21             MR. ZAKARIN:      But that may be because --

22             THE COURT:      He probably doesn't know any more about it

23   than I do.

24             MR. ZAKARIN:      I would wager less.      I would wager I

25   know considerably less, but I'm old-school.

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1              THE COURT:       It was a notion.

2              Now, one of the other points you wish to raise,

3    sequestration of witnesses.

4              MR. FRANK:       Yes, your Honor.

5              THE COURT:       Going into it, my expectation would be

6    that the best way to do it is to physically sequester the

7    nonparty witnesses and the suggestion that they not be kept

8    informed about the evidence in the trial I think adopted and

9    followed.

10             MR. FRANK:       Thank you, your Honor.

11             MS. RICE:       Thank you, your Honor.

12             THE COURT:       If anybody has a different view, I'll hear

13   you.   Among the party witnesses, for clarity, I think they

14   should be free to discuss the evidence as it comes in but not

15   with outsiders.

16             MR. ZAKARIN:       Let me just raise one issue on that,

17   which is the experts.        It seems to me that our expert should be

18   able to be told what their expert has talked about and

19   testified to so he can meaningfully respond to it.               If he's

20   sequestered, he's not allowed in the courtroom when their

21   expert testifies.        We should be able to talk to him and prepare

22   him to testify.

23             THE COURT:       I wasn't sure whether the thought was to

24   apply this to experts or not.

25             MR. FRANK:       It is.

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1              MS. RICE:      It is, your Honor.

2              MS. FARKAS:     It's also compounded just by the fact

3    that their expert has come up with -- there shouldn't be any

4    dispute that their expert has come up with entirely new

5    analyses, entirely new theories, that we just received less

6    than a week ago.    And of course, given --

7              THE COURT:     That's all new.

8              MS. FARKAS:     They're entirely new.

9              MR. ZAKARIN:     Part of that is what we'll be doing this

10   afternoon.

11             THE COURT:     Yes.   They relate.     That's going to be

12   your first witness, isn't he?

13             MS. FARKAS:     No.   He's not planning to come to court,

14   so the physical sequestration we have no problem with.               But in

15   order for him to respond to the plaintiffs', musicological

16   evidence, he has to know what that evidence is.             And he has to

17   know what Dr. Stuart's theories are, which we still, sitting

18   here now, don't know what he's allowed to testify to and what

19   he's not.

20             MR. ZAKARIN:     We're fine with physical sequestration.

21   We don't have a problem with that.         At least with the expert, I

22   don't see why we shouldn't be able to talk to him about what

23   Dr. Stewart, their expert, testifies about to so that he might

24   be able to address it.

25             THE COURT:     What harm do you see?

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1              MR. FRANK:     Ideologically, your Honor, we don't have a

2    problem with them talking to him.       The concern I have was borne

3    from a very specific incident that occurred in this case.               When

4    our expert was being deposed, Dr. Stewart, at their offices,

5    Dr. Ferrera was on the line.      And he was listening to

6    everything Dr. Stewart was saying and feeding them questions

7    via email and text messages.

8              And it turned into an absolute disaster from the

9    standpoint of questions being asked and continuity of

10   questions.   What we're trying to avoid for this case is having

11   Dr. Ferrera, their expert, feeding them questions in real time

12   to ask.   That's why we want him separated and not assisting

13   them in that manner.      That's what we're trying to address.

14             MR. ZAKARIN:     He won't be here today, but for whatever

15   it's worth, experts usually assist the attorneys in dealing

16   with other experts, at least in my experience.

17             MS. FARKAS:     And the disaster in the deposition, I

18   don't know what they're talking about.         There was no disaster

19   that occurred.    Experts are obviously allowed to assist in the

20   preparation of the examination of the other side's witnesses.

21             All we're talking about is -- Dr. Ferrera will not be

22   listening in on the trial.      He will not be physically here, but

23   he should be allowed to know what the plaintiffs' case is on

24   the musicological issues.

25             Otherwise, how is he going to testify in rebuttal

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1    about why and how he disagrees with it or what mistakes

2    Dr. Stewart has made in his transcriptions or how he

3    manipulated the transcriptions or how he's comparing two

4    different parts of songs.

5              He needs has to be able to know what Dr. Stewart is

6    going to be opining on in order to have an efficient and

7    effective examination of our expert.

8              THE COURT:     In a curious way, the history of discovery

9    and preparation for this trial promotes paranoia.

10             I think we're safe enough in the traditional way, that

11   the experts are kept informed about what the people are saying

12   and that they can speak to other people is going to be all

13   right.

14             MR. FRANK:     Yes, your Honor.

15             THE COURT:     If you think something is going really off

16   the rails that comes to your attention during the trial, let me

17   know about it and let them know about it.

18             MR. ZAKARIN:     Hopefully that will not occur.

19             THE COURT:     They really have a bigger right to know

20   about it because they are the ones that will be held

21   responsible.

22             MR. FRANK:     Yes, your Honor.

23             THE COURT:     Were there any other things that you would

24   like to hear about today?

25             MR. FRANK:     If I may, your Honor.

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1              THE COURT:     Yes.

2              MR. FRANK:     The plaintiffs have filed a fifth motion

3    in limine.    As you're aware, why we're meeting today, this

4    afternoon, is because of Dr. Stewart's, some things that

5    they're claiming are new.

6              Well, the defendants have done precisely the same

7    thing with Dr. Ferrera's testimony.         We did an exhibit

8    exchange, and there are new prior art songs that have been

9    listed that were disclosed for the first time last Monday.               So

10   we've asked that this Court, consistent with what the Court did

11   with regard to an almost identical motion, they did with

12   Dr. Stewart's prior art.

13             THE COURT:     You are getting to the point, aren't you?

14             MR. FRANK:     Yes.   We're asking that the new opinions

15   that were not embodied in the reports, the new songs that are

16   named, be excluded in the prior art that Dr. Ferrera speaks to.

17             THE COURT:     To what degree were they composed after

18   "Let's Get it on"?

19             MR. FRANK:     Several of them were.       Two of them -- I

20   believe two of them, the Mary Wells song.           They were before.

21             THE COURT:     How can one that's composed after be of

22   any interest?

23             MS. FARKAS:     I will answer that question first, but

24   they have sort of mischaracterized the situation.             Dr. Ferrera,

25   when he issued his original report, he identified a number of

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1    what he considered to be relevant prior art on the chord

2    progression and on the combination.

3              THE COURT:     Didn't I disqualify him from testifying?

4              MS. FARKAS:     No.   The reason that your Honor

5    disqualified their expert from opining on prior art was simply

6    because he didn't do an adequate prior art search.             So your

7    Honor said, well, he can't come into trial when no prior art or

8    prior art search was done the first time.           Our expert, on the

9    other hand, did do a prior art search and did identify lots of

10   songs that contained both the chord progression at issue and --

11             THE COURT:     Today aren't we talking about seven?

12             MS. FARKAS:     No.   I'll try and explain.        There are two

13   different types of prior art that we're talking about here that

14   they seek to exclude.      One is the dozens and dozens and dozens

15   of songs that Dr. Ferrera disclosed three years ago to them

16   that have the chord progression at issue.

17             And that's just to show that this chord progression is

18   ubiquitous and to dispel any notion that Ed Sheeran must have

19   copied from "Let's Get It On" because that was the only one out

20   there.

21             So whether they came before or after "Let's Get It On"

22   is somewhat relevant, but it's not the completely only relevant

23   fact because if there were 60 songs that had this chord

24   progression even after "Let's Get It On" but before Thinking

25   Out Loud is still true.

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1              THE COURT:     The suspense.    I'm waiting for you to get

2    to the point here.

3              MS. FARKAS:     And there is also the combination of

4    songs.   These were not disclosed to them last week.

5              THE COURT:     So what do you want to happen?

6              MS. FARKAS:     All these are doing are supplementing his

7    prior opinions that were in his report.

8              THE COURT:     That's where I thought I came in.

9              MS. FARKAS:     Yes.   They're all just supplementing his

10   same opinions.

11             THE COURT:     What do you want to happen?

12             MS. FARKAS:     We would like Dr. Ferrera to be able to

13   testify about all of the prior art he found that contains the

14   combination at issue, most of which -- all of them were

15   disclosed to them six week ago, six weeks ago.

16             THE COURT:     What is the relevance of the ones that

17   were written after "Let's Get It On"?

18             MR. ZAKARIN:     The only point on those, your Honor, is

19   it just goes to show the ubiquity of the chord progression, in

20   other words, Ed Townsend didn't sue anybody for that chord

21   progression.    They didn't copy "Let's Get It On".

22             Not only were they before "Let's Get It On", there

23   were plenty after Let's Get It On and nobody said boo because

24   it's so commonplace.      It is a chord progression that has been

25   used over and over and over again.        That's the point of the --

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1    in between Thinking Out Loud and "Let's Get It On" nobody made

2    a claim.

3               THE COURT:    Okay.   Fine.    This point is one that

4    should be disposed of during a trial, questions of relevance,

5    admissibility, and so forth.       You've done noble work in getting

6    a good deal of the case tried before we started it in limine,

7    but I do think there does come a point where enough is enough.

8               MS. FARKAS:    Your Honor, if you don't mind, I think it

9    will be quick.     I think that there are certain items that

10   your Honor has said we'll wait and see how they come up at

11   trial.

12              THE COURT:    May I ask you to speak in reverse.           Start

13   with what you would like to happen.

14              MS. FARKAS:    Absolutely.     I'm going to give it a try.

15   I'm concerned about opening statements and what can be said in

16   opening statements.

17              THE COURT:    This is something I didn't really discuss

18   with you.    I don't want any exhibits in opening statements.

19   The opening statement is supposed to be an overview of the

20   trial, not the trial itself.       So no exhibits.

21              MS. FARKAS:    So no demonstratives either?

22              THE COURT:    That's what I'm talking about here.              Some

23   of them, I have my doubts about whether they'll ever get into

24   evidence.    I wanted to make that plain first.

25              MR. ZAKARIN:    And I assume -- when you said

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1    demonstrative, no audio either.          Tell the people what the

2    evidence is going to be, and the audio will come in during

3    witnesses.

4              THE COURT:     I don't think you should do that during

5    the opening statement, and I don't think you should call

6    witnesses during the opening statement.

7              MR. ZAKARIN:     The second part I understood.           I assume

8    that your Honor doesn't want "Let's Get It On" played and

9    "Thinking Out Loud" played, just the oral advocacy of what the

10   evidence will show.      I agree.

11             THE COURT:     The case at large and the things you want

12   them to know about the case.        Maybe we ought to get them into

13   the room, and we'll tell them.

14             MS. RICE:      Thank you, your Honor.

15             THE COURT:     I thought I should give one thought about

16   Dr. Stewart.    I think this afternoon -- there is no point in

17   going through his credentials.          We want to get to the point.

18             If that leaves the questions of what he can say and

19   what he can't say sort of cloudy in your minds, I think you

20   would do well to get into his early testimony all of the stuff

21   that you want that has nothing to do with the record because if

22   he goes into that, he's very apt to be disqualified by me as a

23   witness, and it would be a pity for him to take away with him

24   as he leaves the stuff that was good.          So I'd get that in

25   first.

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1              MR. FRANK:     Yes, your Honor.

2              THE COURT:     It gives you a little safety there.

3              MR. FRANK:     Okay.

4              THE COURT:     And I would give you a chance to

5    cross-examine on whatever he had said before he was fired.                So

6    remind me of that.

7              MS. FARKAS:     So one question about the process.             So

8    they will put him on the stand, as we just discussed, and you'd

9    like to hear from us about objections that we have to a

10   particular demonstrative or a particular line of questioning.

11             THE COURT:     You're talking about this afternoon?

12             MR. FRANK:     Yes.

13             THE COURT:     I think we'll do it this afternoon.

14             MR. ZAKARIN:     But if Dr. Stewart testifies this

15   afternoon to something that we think is objectionable, is

16   improper, is inconsistent with your Honor's orders, I assume

17   you would want us to raise that to you at that time.

18             THE COURT:     I've given a lot of thought about what's

19   the best way to handle it, the most useful way.            And I think

20   really the best way is to object and have an offer of proof,

21   and then we have the classic record for the Court of Appeals

22   and for me to make the decisions that will take effect

23   tomorrow.

24             MR. ZAKARIN:     That's perfect, your Honor.         We thought

25   that was the right way to do it.        I agree totally.       Thank you,

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1    your Honor.

2              (Continued on next page)

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1                                AFTERNOON SESSION

2                                    2:20 p.m.

3              (Jury not present)

4              THE COURT:     Please sit down.

5              It is clear and there is no question that it is a

6    proper function for an expert to identify and disclose those

7    elements of one copyrighted song which are the same as those of

8    another song raising and perhaps determining the issue of

9    copyright infringement.

10             In this case, comparing the deposit copy of Let's Get

11   It On to Thinking Out Loud lies well within Dr. Stewart's

12   field.   But in this case, there appears to be an attempt to use

13   the unregistered sound recording of Let's Get It On made by

14   Mr. Gaye to reinforce and explain the deposit copy of the song

15   and to use material from the unregistered sound recording to

16   fill in gaps in the deposit copy.

17             Using the sound recording in that way calls for

18   hypothesizing and interpreting beyond the accepted scope of an

19   expert's function or opinion.       I have made clear in my first

20   two in limine rulings in this case the reasons that the Gaye

21   sound recording cannot be used to reinforce, explain, or be

22   combined with the deposit copy.

23             The demonstratives that plaintiffs have offered and

24   the statements in Dr. Stewart's recent submission seem to

25   directly challenge these rulings.        So I scheduled this hearing

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1    to be sure that plaintiffs had the opportunity to support their

2    propositions in this respect.

3              I think you have the floor, Mr. Frank.

4              MR. FRANK:     Yes, your Honor.

5              We would call Dr. Alexander Stewart.

6     ALEXANDER STEWART,

7          called as a witness by the Plaintiffs,

8          having been duly sworn, testified as follows:

9              THE DEPUTY CLERK:      Please state your full name and

10   spell it.

11             THE WITNESS:     Alexander Stewart, A-l-e-x-a-n-d-e-r

12   S-t-e-w-a-r-t.

13             THE DEPUTY CLERK:      You may be seated.

14             MR. FRANK:     Your Honor, before we commence I just had

15   one clarification question.

16             THE COURT:     Can you make it work?

17             THE WITNESS:     It's a little tight.

18             MR. FRANK:     I had one question by way of

19   clarification, your Honor.

20             You directed, if you recall, you had directed that we

21   could dispense with Dr. Stewart's qualifications when we spoke

22   in chambers this morning.

23             THE COURT:     Yes.

24             MR. FRANK:     We're going to do that.         What I wanted to

25   ask your Honor was whether or not you wanted Dr. Stewart to

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1    give definitional explanations of musical terms.             We can have

2    him do that as well, or if you would like to just proceed

3    directly to the analysis, we can do that as well.

4                It's basically up to the court how you would like for

5    us to proceed.

6                THE COURT:   I want you to present anything you want to

7    present on that topic so I'm sure that I have given it a fair

8    hearing.     There must be a great deal I don't know about it.

9                MR. FRANK:   Yes, your Honor.

10               In that case, we would like to start at slide number

11   six.

12   VOIR DIRE EXAMINATION

13   BY MR. FRANK:

14   Q.   Dr. Stewart, if you would, in referring to slide number

15   six, could you explain for the court some of the musical

16   fundamentals set forth therein?

17   A.   Yes.    I have some basic music terms that I define at the

18   beginning here.

19   Q.   Could you explain the principles of rhythm meter and

20   groupings that you have referenced on this particular slide?

21   A.   Yes.    So rhythm quite simply is the placement of sounds in

22   musical time.     Meter is the grouping of beats.         Most musical

23   compositions group the beats in twos, threes, and fours, so we

24   call that the meter.      And the meter is indicated by using bar

25   lines, which are indicated on this slide.

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1              So what I've done here is put two measures that are in

2    groups of two, one, two, one, two, and then two groups in

3    three, 123, 123, and then two groups of four.              So it's a total

4    of six measures.

5              So if you could play the example I think that helps

6    make it clear.

7              (Audio played)

8    A.   One, two, three, one, two, three, one, two, three, four,

9    one, two, three, four.

10   Q.   Thank you, Dr. Stewart.

11             Could we proceed to the seventh slide.             Can you define

12   for us, Dr. Stewart, what pitch is?

13   A.   Pitch is simply the highness or lowness of a sound.              We

14   have symbols that alter the pitch slightly.              Sharp raise is a

15   pitch by a half step, which would be the next nearest higher

16   note on the keyboard.      And in this diagram it would be from F

17   to F sharp.    For example, a flat lower as pitch to the next

18   nearest key below on the piano such as E to E flat, and the

19   natural sign cancels out a sharp or a flat.

20   Q.   Proceed to slide eight, please.

21             Could you tell us a little bit about the basic musical

22   fundamentals set forth in number eight?

23             THE COURT:     You're referring to these notes as members

24   of a chord or as being individually played?

25             THE WITNESS:     Not yet.     I will get to chords, but just

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1    starting with the most basic kind of understanding.

2               THE COURT:    The most basic key by key?

3               THE WITNESS:    Yes.   Single notes.

4               THE COURT:    Single notes.

5               THE WITNESS:    We're talking about melody, which is

6    basically horizontal, single notes in succession.             Then I'm

7    going to talk about chords in simultaneous sounds that build up

8    chords.    I think it will be clear.

9    Q.   If you could explain rhythm for us, Dr. Stewart?

10   A.   Well, actually, I think this slide is also talking about

11   syncopation.    Rhythm is the placement of musical sounds.

12   Sounds in musical time, as I said.        Syncopation is rhythmic

13   displacement.    It's putting notes off the regular beat.

14              So in the slide here, I have two notes on the base

15   drum or the kick that are on the beat, and then three notes

16   that are off the beat that are syncopated off the beats.                 So I

17   think if you played the example, it will be pretty clear that

18   three notes in red are the syncopated or rhythmically displaced

19   notes.

20              (Audio played)

21              That is a very strange echo I'm hearing.           Makes it

22   harder to distinguish the rhythm.

23   Q.   If you can switch to slide number 10.

24              For tempo, can you tell us what that is, Dr. Stewart?

25   A.   OK.   Seemed like it was hard to hear what that was, though.

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1    Basically I was saying you have the down beat, which I do with

2    my foot right now, if you can hear it.

3    Q.   You're referring --

4    A.   Syncopation would be -- just because I think the example

5    was unclear -- the off beats, the syncopation would be -- would

6    be the notes that I'm clapping.

7    Q.   OK.

8    A.   The next line is about tempo because the beats in a piece

9    of music have a pace or a speed at which they are played by the

10   musicians, and we measure this in terms of BPM or beats per

11   minute.    A metronome is a device that we musicians use to help

12   us set the right tempo for different pieces of music.

13              Thinking Out Loud is at 79 beats per minute, which is

14   kind of at the upper end of a ballad tempo.              Ballads are

15   generally 60 to maybe 80 beats per minute.           There is no tempo

16   marking on the deposit copy of Let's Get It On.

17              But I want to give a couple of several examples of

18   different tempos, because they are generally used in different

19   genres.    First let's listen to 80 beats per minute, which is

20   the pace of Thinking Out Loud.

21              (Audio played)

22              One, two, three, four, and so forth.

23              The next line will give us 92 beats per minute, which

24   is generally the tempo of hip hop.        Hip hop is usually maybe 80

25   to 95 beats per minute.      So this is kind of an average tempo,

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1    92 beats per minute.

2              (Audio played)

3              MR. FRANK:     Hold on one moment.      Kim, did you have an

4    issue with the sound?

5              MS. PASSEY:     I was going to ask if we would assist the

6    witness with the microphone.

7              MR. FRANK:     I apologize.     I believe you're going to

8    play the last example?

9    A.   No, 92 now.    Hip hop tempo.

10             (Audio played)

11             OK.   Thank you.

12             And then this last tempo is a faster dance tempo,

13   often used approximately for many disco songs.

14             (Audio played)

15             So at one -- thanks -- at 120 beats per minute, of

16   course, that would be two beats per second.

17   Q.   If you could flip to slide number 12, please.

18             Can you tell us a little bit about what melody is?

19   A.   Melody is a succession of pitches in musical time, and

20   we'll also be talking about melodic contour and that is the

21   shape of the melody.

22             So melodies have different shapes.             They can go

23   ascending or up or they can go up and then stay flat or they

24   can rise and fall and so forth.         I think these are graphically

25   represented here, some of the different melodic shapes.                Of

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1    course melodies can have more complex shapes than that.

2    Q.   Can you explain the scale degrees or pitch sequences?

3    A.   Next slide, please.

4                So when we compare different melodies --

5                This seems like it is cutting in and out a lot.

6    Q.   I'm sorry.    You were saying, Dr. Stewart?

7    A.   Yes.    So when we compare different melodies, we often

8    reduce them to a series of introtures, or Arabic numerals, to

9    identify the different pitches.         It's easier for lay people to

10   understand, and it's also easy to jump back and forth without

11   worrying about what key something is in.

12               So a perfect corollary is using syllables, which are

13   called solfege, and singers in the classical idiom generally

14   learn solfege when they start out.         Everybody knows do re me fa

15   so la ti do.     Excuse my terrible singing.

16               But we can also use numerals to represent those same

17   pitches.     So it would be one, two, three, four, five, six,

18   seven, eight, and so this is a way to represent the order of

19   the pitches numerically, which is easy for everyone to

20   understand, and it carries over regardless of what key the

21   piece of music is in.

22   Q.   Could you speak to scale degrees?

23               Next slide, please.    Here is a scale, again, that I

24   just sort of attempted to sing that has the Arabic numerals or

25   we call it introtures beneath each of the pitches.             It's a

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1    C major scale.

2               If you can play that, please.

3               (Audio played)

4               There is an echo that was not intended to be there,

5    I'm not sure why.

6    Q.   OK.   If you can switch to slide number 14, Dr. Stewart.

7               Can you explain to us scale degrees?

8    A.   So here is a simple recognizable melody that I've posted

9    the scale degrees above the pitches.         So you can see how a

10   pitch sequence would be constituted by taking -- from taking

11   this melody and reducing it to these numerals.

12              If you can play the familiar song.

13              (Audio played)

14   Q.   I'm sorry.    The volume is way too high.           You're blotting

15   out the melody.

16   A.   That's a little better.      The pitch sequence there is one

17   eight seven five six seven eight one six five.              So that

18   represents the pitches and their sequence in this song quite

19   clearly.

20   Q.   If you could speak to what a key is, Dr. Stewart?

21   A.   Next slide, please.

22              So we talk about different keys that pieces of music

23   that compositions are in, and basically it's referring to a

24   central tone or keyed note, or tonic, as we call it as

25   musicologists.

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1              And so in the C major scale, the first and the last

2    notes were Cs, and it provides a sense of resolution or

3    finality when we reach that top note.

4              To spare you hearing my voice again, I'll jump over to

5    the piano.

6    Q.   What are you about to play?

7    A.   I'll play the C major scale, but I'll show how the tonic or

8    the keynote provides a sense of resolution that it feels like

9    home base.

10             (Keyboard played)

11             So if we start on C and we go up the scale, and if I

12   stop on seven, most of us are yearning to hear one last note,

13   which provides that resolution and indicates -- gives us a

14   feeling of where the home base is or the keynote or tonic.

15   Q.   With respect to key, what C is the deposit copy of

16   Let's Get It On?

17   A.   The deposit copy is in the key of E flat major.

18             And if I may continue on, the studio recording of

19   Thinking Out Loud is in D major.        These are two keys that are

20   adjacent to one another, just a half step apart.             So they are

21   the closest keys in terms of their range where they are set.

22   Q.   What do you mean when you say in the slide Let's Get It On

23   is transposed to the same key as Thinking Out Loud being D

24   major for ease of comparison?

25             Is that something that you did?

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1    A.   This is something that all musicologists do when they are

2    comparing songs.     They put them in the same key so that they

3    can compare them, and this is something that the musicologists

4    for the other side has also done.        And so it is standard

5    procedure.

6              When you do this, all of the musical relationships

7    remain the same.     Nothing is changed within the composition.

8    It is still the same piece.

9    Q.   If you would, Dr. Stewart, could you explain to the court

10   what a triad is, a chord?

11   A.   Next slide, please.

12             So here we'll talk about the vertical sounds or

13   simultaneous sounds that create chords and harmonies.              Up until

14   now, speaking about melodies and scale degrees, we were

15   thinking more horizontally in terms of melody.            But now we are

16   thinking vertically about sounds that are layered on top of

17   each other or played simultaneously.

18             So one of the basic chords that we have musically is a

19   triad, three notes built on the first, the third, and the fifth

20   note of the scale.       So in the key of C, C skipping D, going to

21   E, skipping F, and then to the fifth note of the scale, which

22   is G.

23   Q.   What happens when you add a seventh to the chords?

24   A.   Next slide, please.

25             So if you keep adding tones to these basic triads, you

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1    would add, continuing to skip a note each time, you would go

2    from the fifth to the seventh and then the ninth and the

3    eleventh and all the way to the thirteenth.

4                We're not going to be really dealing with that much, I

5    don't believe.     But it's important to understand that the

6    seventh is just adding one more tone to the basic triad, and

7    the seventh doesn't have to be put on the top.

8                One of the important things to understand is that when

9    you're building these chords, you can build them vertically,

10   like I did in the first example, row third, fifth, seventh.

11   But you can also invert them and order them differently.                 So

12   the second example there has the seventh on the bottom.

13               I'll play each of them.

14               I don't think the next slide has sounds sound does it?

15               No.

16               (Keyboard played)

17               Here is the C major seven.

18               If you want to go back one slide, please.

19               With the seventh on top, but you can also put the

20   seventh on the bottom.      To my area, it's a little more

21   interesting sound when you reorder these pitches.

22   Q.   Dr. Stewart, could you speak to the distinction between

23   major and minor chords?

24   A.   Yes.

25               Next slide, please.

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1                Yes.    So if we have -- we have been talking about

2    major chords.       Minor chords really just one pitch is adjusted

3    downward by a half step.      So the first example here is a D

4    major triad has a F sharp on the third pitch, and the second

5    chord is a D minor chord.      So it has an F natural.          The third

6    is lower by a half step.

7    Q.   Could we hear an example of those two?

8    A.   I think there is an example on the -- coming up very soon.

9    We will come back to that.       If there isn't, I'll play it on the

10   keyboard.

11               But let's go to the next slide.

12   Q.   What, if anything, is the significance of the Roman

13   numerals being utilized in this slide?

14   A.   Yes.    So both the opposing musicologists and I use Roman

15   numerals when we are analyzing the harmony.              This is a great

16   way to distinguish the scale degrees or horizontal pitches from

17   the vertical pitches or the chords, arabic as opposed to Roman

18   numerals.

19               Quite simply, upper case Roman numerals indicate a

20   major chord.       Lower case Roman numerals indicate a minor chord.

21   So then we use the same numeration that we did with the scale

22   degrees.     The chord build on the first note of the scale is a

23   one chord, but it's indicated with a Roman numeral one.               The

24   second chord is a minor chord, and it's two with lower case

25   Roman numerals.       Then we have a chord built on the third degree

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1    of the scale.     It's also a minor chord indicated by Roman

2    numeral three, lower case.       And then the fourth chord built on

3    the scale is upper case Roman numerals, indicating four is as a

4    major chord.     And then the next chord is a five chord with an

5    upper case Roman numeral indicating that five is a major chord.

6                That's really as far as we need to go in terms of

7    talking about the tunes at issue here because, as you'll see,

8    they are built on the one chord, the three chord, the four

9    chord, and the five chord.

10               If you can play this example, though, it will

11   illustrate the harmonization of the major scale using just

12   these basic triads.

13               (Audio played)

14   Q.   Could you tell us a little bit about the D major scale,

15   what it is comprised of?

16   A.   Yes.    Since we're going to be dealing with the songs in the

17   key of D, it's useful to just take a second and look at the key

18   of D.   We've been in the key of C, which is a user-friendly key

19   with no sharps and flats, but the key of D has two sharps.               And

20   so it is really the same thing, though.          We have one pitch, one

21   through eight, and on this slide D, the pitch is D are in

22   green, because they are the keynote or tonic.            And so it will

23   sound just like the C scale except it starts one step higher.

24               So let's hear the D scale, please.

25               (Audio played)

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1               Once again, when you get to that seven, it's lead to

2    the eight, which is why in music, the leading tone, it wants to

3    resolve to the tonic again.

4    Q.   Could you distinguish between major and minor chords as it

5    relates to harmony?

6    A.   I mentioned before we were going to look at major and minor

7    triads, and we would listen to an example and it would spare

8    you hearing my piano playing, too.

9               I should note, I'm a saxophone player and not a

10   pianist or a singer.      But like many musicians, I have had some

11   basic piano training and I use the piano.

12              But anyway, here is the D major cord, which I could

13   easily play on the keyboard.       But let's listen to this example.

14   The D major with the third as an F sharp, and then D minor with

15   a third lowered a half step.

16              (Audio played)

17              One other thing, we also have chord symbols here.

18   I've been talking about Roman numerals.          Notice that the Roman

19   numeral I for one is capital for the major chord and it is a

20   lower case i for the minor chord.        Also using the chord symbol

21   D, when it doesn't have anything other than the D, it means it

22   is major.    When there is a dash after it, it means it's

23   D minor.

24   Q.   Dr. Stewart, what would happen in the context of using a

25   minor chord to play a well-known song?

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1    A.    Well, let's go to the next slide.

2               MS. FARKAS:    Your Honor, so just, I don't believe this

3    slide we've ever seen before.       They did produce slides to us

4    less than a week ago or about a week ago.           The slides that they

5    are using today are in a completely different order, and so I'm

6    doing my best to figure out what I'm looking at and to see if

7    it corresponds to what we were given before.

8               This one I do not recognize and I'm not sure what it

9    is.    So if we could just get a proffer of what this is and

10   whether it relates to either of the melodies at issue in this

11   case.

12              THE WITNESS:    Should I address that?

13              MR. FRANK:    Hold on.

14              THE WITNESS:    Right.

15              MR. FRANK:    Your Honor, if I may respond.

16              We are in the process right now of showing the

17   building blocks of the music.       We are not getting into the

18   analysis yet.    We are not proffering it for having any relation

19   to the song, just explaining musical theory for the purpose to,

20   and then we'll hear the musical analysis.

21              (Counsel confer)

22              In fact, the next slide I believe starts the musical

23   analysis.

24              MS. FARKAS:    I just don't see -- I'm concerned they

25   are giving musicological analysis that has no relationship to

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1    the songs in this case, as if to suggest this has some bearing

2    on things that Dr. Stewart is going to do later, so...

3                 THE COURT:    Well, I don't think I have any basis for

4    ruling on what you seem to be saying, which is that this is a

5    form of surprise.

6                 But with respect to what's going to happen later, we

7    don't usually rule on an evidence point based on some evidence

8    to be offered later.        You leave me adrift.

9                 MS. FARKAS:    OK.   I guess we'll see how they tie it

10   in.

11                MR. FRANK:    Thank you.     Dr. Stewart --

12                THE COURT:    I think for present purposes, your

13   objection is denied as inscrutable.

14   BY MR. FRANK:

15   Q.    Dr. Stewart, would you proceed, please?

16   A.    Yes.    So this example takes a familiar song and it changes

17   one pitch from the major to the minor.            And the point of this

18   is to show that that one alteration does not change the basic

19   identity of this song.        Everyone will still recognize it, what

20   this song is.      And so the pitch that I changed, the third is

21   changed from a major third to a minor third.

22                So if we could play the example, and I think it will

23   show my point, and this will be relevant later when we're

24   talking about the songs at issue.

25                (Audio played)

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1    Q.   Dr. Stewart, why is that -- to your mind, why is that

2    significant to show that to the court?

3    A.   Because basically the note on the scale degree three has

4    been lowered a half step, but it is still scaled in degree

5    three and it would still be analyzed as three in terms of the

6    ordering of the pitches.      So it has not changed the fundamental

7    composition, as I think evidenced by the fact that most people

8    recognize what that song is.

9    Q.   Flip to the next slide, please.

10             Could you describe what this slide is intended to

11   depict?

12             THE COURT:     Does this point reach any further than to

13   say that, in any of these short sections, you can make a minor

14   change to some note without making a difference to the ear?

15             And if so, what's the significance of the proposition?

16             THE WITNESS:     Well, the proposition here is that the

17   note that was changed still remains a three.             It's the third

18   note of the scale, so it was not like just taking some random

19   note and making it a different note or taking a pitch that is

20   like five and turning it into six.

21             So in terms of the analysis, it's still the third

22   degree of the scale, and the fundamental order of the pitches

23   is not changed and neither is the basic composition.              I think

24   your point is well taken.      I don't disagree with that.          The

25   thing is if we changed a different pitch from introture to

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1    another, from one scale degree to another, it would also change

2    the analysis because then the pitch sequence would change as

3    well.

4              THE COURT:     I'm trying to perceive whether the point

5    you're making is simply an academic one or is an audible one.

6              THE WITNESS:     Well, I think we can all hear that the

7    Happy Birthday with the altered pitch sounded more like sad

8    birthday with the pitch lowered.        So it's audible as sounding

9    different, but I don't think if you took -- if Happy Birthday

10   was still under copyright -- and I guess it isn't -- you

11   couldn't have a defense that, oh, this is no longer Happy

12   Birthday because that note is different.          It's still the same

13   composition and I don't think you would succeed in your defense

14   saying it is no longer Happy Birthday.

15             THE COURT:     Well, we have a concept in the law called

16   immateriality.     And isn't this, in effect, saying the change is

17   immaterial?

18             THE WITNESS:     I think so, and that actually is going

19   to be a point that I make later on when I'm comparing the two

20   songs at issue in this case.

21             MR. FRANK:     May I, your Honor?

22             MS. FARKAS:     I have an objection to this next slide.

23   This slide is from the report of our expert, Dr. Ferrara, from

24   2015, at a time before your rulings on the deposit copy.                 And

25   so this, the section of this report is talking about the LGO

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1    sound recording which is no longer at issue in this case, so

2    this slide should not be used by Dr. Stewart.

3               MR. FRANK:    Well, go back to that slide, please.

4               MS. FARKAS:    You'll see where it says in the paragraph

5    it says --

6               THE COURT:    There may be something to that, but I'll

7    let him develop it.

8               MS. FARKAS:    OK.   I'll just note it refer to the piano

9    parts in both songs, which we know is not in the deposit copy.

10              MR. FRANK:    How do you know the deposit copy couldn't

11   be played on the piano and that is what he's referring to?

12              MS. FARKAS:    He's discussing transcriptions of the

13   sound recording.     I don't see how you can actually dispute me

14   on this.    You might think you can use it, but it clearly is

15   what it is.

16              It talks about his transcriptions.            We know what his

17   transcriptions were.      We know that is no longer in this case.

18   If you continue to insist on putting it in the case, I'll

19   continue to objection.

20              MR. FRANK:    He's only speaking to the harmonic rhythm.

21   He's not speaking to anything in the sound recording.               There is

22   no reference to the sound recording.

23              MS. FARKAS:    You do not need Dr. Ferrara's report from

24   2015 to show what the chord progression is.

25              MR. FRANK:    What's wrong with the report?

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1               You're attempting to put it -- you guys could have put

2    in Dr. Stewart's report.      We are allowed to speak to the -- we

3    are allowed to speak to the analysis that Dr. Ferrara did, are

4    we not?

5               MS. FARKAS:    It was of the sound recording that is no

6    longer in this case.

7               MR. FRANK:    I don't see it saying sound recording on

8    there --

9               MS. FARKAS:    Would you like to --

10              MR. FRANK:    -- or harmony.

11              This is harmonic progression, which is admissible.

12              MS. FARKAS:    Due to the improvisational nature of some

13   of the instrumental parts, particularly in the piano part in

14   both songs, the chord progressions have numerous variations

15   which I have not transcribed given the preliminary status of

16   this analysis.

17              You have cited the Ferrara report March 2015.

18   Presumably you have read the Ferrara report from March 2015 and

19   you know exactly what it is based upon.

20              MR. FRANK:    That's why I deal specifically with

21   harmonic progression, which has been admitted, and I believe it

22   should be -- Dr. Stewart should be allowed to opine on that

23   issue because there is no dispute that that is what this slide

24   is intended to encompass.

25              In fact, Dr. Ferrara himself says he didn't bother to

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1    transcribe the instrumentals in the sound recordings, so I'm

2    not sure how that is relevant at all.

3                MS. FARKAS:    Your Honor, it's pretty simple.           I'm not

4    sure why Mr. Frank is fighting me so much on this.               This report

5    refers to transcriptions of the sound recording of Let's Get It

6    On prior to your Honor's 2020 rulings, and so there is no

7    reason for plaintiffs to need to refer to this slide or this

8    report when there are plenty of times post your decision when

9    the parties have defined the chord progressions that are at

10   issue.

11               I have an expert here who can testify.            They don't

12   need to walk him through slides.         He can ask him a proper

13   question and he can answer it.

14               THE COURT:    I think I'll let him proceed with this

15   analysis until I'm clear and the record is clear where it

16   leads.   I think that's the point at which these objections

17   should be referred to by hindsight.

18               MS. FARKAS:    OK, your Honor.     Thank you.

19   BY MR. FRANK:

20   Q.   What was -- if you could explain the harmony analysis that

21   you did with respect to Dr. Ferrara's report about the two

22   songs, Dr. Stewart?

23   A.   Yes.    So the basic harmony is given here, and as I said

24   before, we don't disagree basically.          The harmony is the one

25   chord to the three to the four to the five.               Dr. Ferrara has an

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1    error here.     I think it's just an innocent typo for the second

2    chord.     He has two, seven, and it really should be three, as we

3    all know.

4                But what I was also interested in is, you know,

5    because the defense has produced this realization of the

6    deposit copy, they produced a recording of it that also has

7    piano in it, and that's something that I wanted to address.

8    Because they did take the deposit copy and have it -- the notes

9    on the deposit copy sounded by a piano.

10               And I want to talk a little bit about that when we get

11   to their recording.      I think this is a good way to introduce

12   that topic as well.

13   Q.   OK.

14               THE COURT:   Well, what is the significance for this

15   case?

16               THE WITNESS:   I think that will become clear when we

17   get to -- we're going to listen to the entire recording that

18   the defense produced of the deposit copy of Let's Get It On.

19   And I wanted to point out, you know, they had to make certain

20   choices of how they were going to realize it, what instruments

21   they would use.     And then, you know, when it says the chord

22   progression on the deposit copy, you know, it's just a chord

23   symbol.

24               So there is a lot of choices of how you're going to

25   realize that chord symbol when you make this recording, so they

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1    had to make certain choices when they did that.              And I think

2    that I have a fairly important point to make about the choices

3    they made in producing that sound version of the deposit copy.

4    So it's referring really to their -- their --

5              THE COURT:     What if we treat the sound recording as

6    nonexistent?

7              What happens to this argument?

8              THE WITNESS:     Well, they created an audio file that

9    purports to be a realization of the deposit copy, I presume

10   because they want people to be able to hear what is on the

11   deposit copy.    I had a teacher who used to say, if I was

12   burying my face in my part too far and not really listening to

13   what is going on, he would say, That's not the music.               The

14   music is not on the paper.       The music is the sound.         And that's

15   really stuck with me as a profound kind of idea.

16             So I think they quite rightly produced a way for

17   people to hear what is on the deposit copy.              I think that is a

18   very valid thing to do what they did, and I think we're going

19   to use that, too, as representative of what is on the deposit

20   copy.   So it won't only be they that use it, but we will also.

21             But I do want to show something that I think is bit

22   problematic about the way they decided to do that in terms of

23   the piano part.

24             THE COURT:     But you're basically using the sound

25   recording to supplement the deposit copy, aren't you?

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1              THE WITNESS:     Well, they produced it, not me.           And I

2    think the point here is -- and I would agree that they put not

3    a single note in that recording.        It was computer-generated.

4    It wasn't performed by a human.

5              So the computer was completely objective.            The

6    computer didn't decide to do something here or there.              A human

7    being, I guess, programmed it, but there is not one note on

8    their production of this that is not in the deposit copy.

9    Every single note in the deposit copy is indicated there.

10             THE COURT:     In the same place?

11             THE WITNESS:     Pardon?

12             THE COURT:     Are they all in the same place that they

13   were in the deposit copy?

14             THE WITNESS:     Yes, they are.

15             MR. FRANK:     It's a performance of the deposit copy.

16             THE COURT:     I think I'll leave that for cross.

17             MR. FRANK:     Thank you, your Honor.

18   BY MR. FRANK:

19   Q.   What was your conclusion as it relates to the similarities

20   and harmony between the two songs, Dr. Stewart?

21   A.   Apart from that typo there, I think we agree that the basic

22   harmonies are correct.      So I would like to talk a little bit

23   more about the basic harmonies.

24             I think the next slide will do that.

25             So the basic harmony, as analyzed by both of us, is

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1    one major to three minor to four major to five seven in Let's

2    Get It On, and one major then one major with three in the bass.

3    Anyway, the sound may be a little obtuse for nonmusicians, but

4    I think when you hear these realizations of the chords, it will

5    make sense.

6              I would like if you could play the example of the

7    basic harmony from each song.

8              That sounds more like John Cage.          Did we lose our

9    sound?

10             I could just play it on the piano.

11             So the first chord in Let's Get It On is...

12             (Keyboard played)

13             So that is exactly what is indicated there in that

14   transcription.     In Thinking Out Loud, it's...

15             (Keyboard played)

16             Let me play that one more time.          Maybe the next slide

17   will play.    Let's try that.     It's the same thing.

18             No, the next slide.      Yes, this one.

19             No, not playing either?

20             MS. PASSEY:     It's no longer a video.

21             THE WITNESS:     OK, not a problem.

22             Once again, that's OK.        Go on.    So the notes that are

23   circled in green, the only notes that are different between

24   Thinking Out Loud and Let's Get It On.           So there are two

25   pitches, two notes in Let's Get It On that are circled in green

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1    that are not heard in Thinking Out Loud.          This one pitch on the

2    second chord, that's different in Thinking Out Loud.              And one

3    additional pitch on the fourth chord in Let's Get It On, so...

4    Q.   Do those different notes cause any appreciable difference

5    between the two songs?

6    A.   I'll let you be the judge of how different these sound.

7              (Keyboard played)

8              That's Let's Get It On.

9              Thinking Out Loud.

10             (Keyboard played)

11             To my ear, they sound almost identical.

12   Q.   If you could go to the slide 26, please.

13   A.   One last point on that slide.

14   Q.   Go back, please.

15   A.   I'm sorry.    Different note in the second chord of Thinking

16   Out Loud is not present during the entire 21, 24 seconds of

17   Thinking Out Loud.       Mr. Sheeran never plays that on guitar, so

18   essentially the first 24 seconds of Thinking Out Loud doesn't

19   even have that difference.

20             And also importantly, in many spots in his recording

21   he does play that initial note that is circled.            That

22   additional note on the five seven chord in Let's Get It On, he

23   often plays that in Thinking Out Loud, too.

24   Q.   If we could switch to slide number 26, please.

25             What have you done here, Dr. Stewart?

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1    A.   Well, if this would play, it's really still the same thing.

2                (Audio played)

3    Q.   I can hear it a little bit.

4    A.   It's very faint.      I think, though, I've covered it by, you

5    know, playing it on the keyboard.        We can move on.

6                There it is.    Since it is working now, could you play

7    it one more time, please.       And maybe if you can boost the

8    volume a little bit.       The point is to listen to these and

9    appreciate whether the difference is significance or not, I

10   think.

11               (Audio played)

12               OK.   I guess that's the most volume we can get.

13   Q.   Can you explain for the court what harmonic, the concept of

14   harmonic rhythm is?

15   A.   Sure.    If we can go to the next slides.

16               So literally harmonic rhythm is the rhythmic pattern

17   of the harmonic progression.       So it is the rate at which the

18   chords are changed or the rate where the chords are placed in

19   musical time.      So the harmonic rhythm of the chord progressions

20   that we have been listening to is not quite as simple as what

21   we've just been hearing.       There is some rhythmic interest that

22   is really important to each of these chord progressions.

23   Q.   Can you insert the concept of harmonic rhythm into the two

24   songs that we're talking about?

25   A.   Yes.    On the next slide, please.

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1                So in Let's Get It On and in Thinking Out Loud, the

2    second and the fourth chords are anticipated, meaning that they

3    are played slightly ahead of the regular beat.             So what we were

4    just hearing the chords were placed squarely on the beat.                 One,

5    two, three, four, one, two, three, four.

6                Now, the second chord is anticipated so it's one, two,

7    three, four, one, two, three, four.          That adds a lot of

8    rhythmic interest.

9    Q.   Have you provided a sample?

10   A.   Yes.    If we can play the example, please.

11               (Audio played)

12               MS. PASSEY:    Excuse me.    Did the IT guy mute the

13   audio, the system?

14               THE DEPUTY CLERK:     No.

15               MS. PASSEY:    Now it's not playing through the system.

16               THE DEPUTY CLERK:     I'll call up.

17               THE WITNESS:    Well, in the interest of time, this is

18   what -- I kind of like it when the computer plays the examples.

19   It saves me from moving over here, but also it's completely

20   impartial.     There is no performance element that I can be

21   interjecting.

22               But the harmonic rhythm now, instead of...

23               (Keyboard played)

24               Now the second and fourth chords are anticipated.

25               (Keyboard played)

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1                So you can hear that they are played a little earlier

2    and that gives it some rhythmic proceed pulse.            It adds

3    significantly to the effect of these chords.

4                In Thinking Out Loud, it's...

5                (Keyboard played)

6                So, again, the second and fourth chords are played

7    anticipated.     They are placed ahead of the beat so that is the

8    harmonic rhythm that characterizes both of these songs.

9    Q.   Speak a little more to the harmonic analysis that is at

10   issue on the defendant's side, Dr. Ferrara's harmonic analysis.

11   A.   Yes.    If we can go to the next slide.

12               Here, we really could use the sound to be played in

13   the courtroom.

14               Dr. Ferrara provided a pretty comprehensive analysis

15   of the variations in Thinking Out Loud.          They go beyond the

16   basic harmony that we've been talking about, one, three, four,

17   five, and he provided five different variations that he calls

18   TOL number one, TOL number two, TOL number three, TOL number

19   four, and number five.      And he explains where they occur at

20   different places in Thinking Out Loud.

21               And so it's useful to -- again, now, compare this

22   basic harmony from the deposit copy of Let's Get It On with

23   these variations that Dr. Ferrara has identified.             And on the

24   next slide, it will be hard to hear, I think, but you'll be

25   able to hear the expression of his analysis in realtime in

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1    terms of what it sounds like.

2               (Audio played)

3               TOL number one.

4               TOL number two.

5               TOL number three.

6               Number four.

7               Number five.

8               And then finally Let's Get It On again, so there you

9    have it.    I think these different variations don't sound a lot

10   different from one another, or from what we hear in Let's Get

11   It On, but everybody is able to hear for themselves whether

12   they would agree with that or not.

13              MS. FARKAS:    So, your Honor, a few objections on this.

14              First of all, his conclusions on this are

15   inappropriate.     How they sound is not something that he should

16   be opining upon, and I would also like to just note that he is

17   testifying about items that are evidence that are not in this

18   case at this point in the case.

19              You know, when he testifies that this is plaintiff's

20   case and or to the extent that they are relying upon evidence

21   that is defendant's, I want to note that for the court.              I'm

22   not asking for a ruling at this point, but it is something that

23   we are aware of in this case.

24   BY MR. FRANK:

25   Q.   Go to slide 32, please.      Identify what this is,

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1    Dr. Stewart.

2    A.   This is the defendant copy of Let's Get It On, and it

3    starts with the application two pages that were filed with the

4    U.S. Copyright office at the time of registration.

5                And then the next two pages, if we can forward --

6    Q.   Next slide.

7    A.   -- are pages one and two of the deposit copy.

8    Q.   Scroll through the deposit copy if you would, Kim.

9    A.   Pages three and four, and page five and then six has some

10   notations on it, probably made by the U.S. Copyright office,

11   but they are not really relevant, I don't believe, to anything.

12   Q.   Do you have a sample of the performance of the deposit copy

13   consistent with -- I'm sorry.

14               Do you have samples of the deposit copy?

15   A.   I'm sorry, what?

16   Q.   Do you have samples of the performance of the deposit copy,

17   slide 37?

18   A.   Let's move on.      OK.

19   Q.   Can you identify what these are?

20   A.   Yes.    So there is one notational factor in the deposit copy

21   that Dr. Ferrara has attempted to make into something very

22   significant.     As we'll see first, what I want to show is that

23   the deposit copy sounds exactly the same.

24               If you play it at 164 beats per minute, the way that

25   it is notated in the deposit copy, then you cut the note values

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1    in half and the tempo in half, they still sound exactly the

2    same.   There is absolutely no difference in the way they sound

3    at all, so it's purely a notational thing.

4              So let's listen to these and compare them.

5              (Audio played)

6              And now --

7    BY MR. FRANK:

8    Q.   For the record, Dr. Stewart, what was just played, that

9    wasn't a sample that you prepared.        Where did that come from?

10   A.   It's from the deposit copy that --

11   Q.   Who prepared the audio file?

12   A.   Well, when I put these into Sibelius to use them for music

13   examples, then they also can be played back as MIDI files,

14   Musical Instrument Digital Interface.         So the notation can be

15   played back by the computer --

16   Q.   I see.

17   A.   -- which I think is a very objective way to hear back these

18   examples without any element of human interference, if you

19   will.

20             THE COURT:     I'm told that the plaintiffs are having

21   some trouble with the audio and would like a short recess to

22   get it fixed; is that right?

23             I'm also told they think they can do it in about

24   ten minutes, so let's do that.

25             MS. RICE:      Thank you, your Honor.

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1                MR. FRANK:    Thank you, your Honor.

2                (Recess)

3                THE COURT:    You can resume whenever you want, and

4    everybody who wants to sit can sit.

5                MR. FRANK:    Thank you for that, your Honor.

6    BY MR. FRANK:

7    Q.   If we can revisit slide number 37.          May it please the

8    court.

9                Dr. Stewart, could you proceed with slide number 37

10   and what you were saying when we broke?

11   A.   Yes.    Thank you.    I just would like everybody to be able to

12   hear what it sounds like when you do this, take the deposit

13   copy, and this is the first phrase from the deposit copy, I've

14   been really trying baby, and you take the tempo and cut it in

15   half, but also cut in half the value of the notes.

16               So listen to these two iterations or realizations of

17   the deposit copy and see if you detect any difference.

18               (Audio played)

19   Q.   Dr. Stewart, if I may request, why is it significant that

20   they sound the same at different speeds?

21   A.   Well, for one thing, the opposing musicologist tried to

22   exaggerate or manufacture a difference here that doesn't exist

23   because they sound exactly the same when you do this procedure.

24               If we can go to the next slide, I think --

25               MS. FARKAS:    Just before you speak, I'm going to have

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1    a continuing objection to Dr. Stewart characterizing what

2    Dr. Ferrara has yet to say in this case.           It is not evidence in

3    this case what Dr. Ferrara has not yet testified to.               So we're

4    going have a continuing objection to plaintiff's putting in

5    anticipations of Dr. Ferrara's testimony on their case in

6    chief.

7                MR. FRANK:    Respectfully, I don't think it's an

8    anticipation.     You're required to proffer an affidavit or

9    declaration of Dr. Ferrara which explicitly says what his

10   testimony is going to be.       That is in the record and stipulated

11   to and Dr. Stewart is speaking to that.

12               MS. FARKAS:    That's not evidence in this case.

13               THE COURT:    You have a continuing objection to that,

14   Ms. Farkas, and I will continue to allow him to do it because

15   what we're trying to find out is the points at which the two

16   experts differ and how it is that one supports his conclusions.

17               So I'm going to allow him to do what he does while

18   there is no jury here.

19               MR. FRANK:    Thank you.

20   BY MR. FRANK:

21   Q.   Dr. Stewart, if you could explain, you mentioned that

22   Dr. Ferrara had manufactured a difference.

23               Can you expound upon that, please?

24   A.   Yes.    In this report of his dated from January 2018, he

25   makes it sound as if there are actually six chords in Let's Get

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1    It On.

2    Q.   Are there six chords in Let's Get It On?

3    A.   No, there are only four.      And he talks about two chords in

4    bar one, one chord in bar two, two chords in bar three, one

5    chord in bar four.       And then he talks about this being a

6    significant difference in Thinking Out Loud.             The harmonic

7    rhythm is two bars, not four bars.

8              Anyway, even he acknowledges in his last sentence here

9    the point I'm making, which is if you cut in time the value of

10   the notes and the tempo, the harmonic rhythm between these two

11   chord progressions remain the same.         He's basically

12   acknowledging what I'm saying, that this is not a difference.

13   Q.   What impact does the fact that there are only four chords

14   in Let's Get It On impact the harmonic rhythm analysis?

15   A.   Well, simply that he's trying -- he's trying to make it

16   sound like there are six chords because he's talking about two

17   in bar one, one in bar two, two in bar three, and one in bar

18   four, but we know -- I mean, I think in the next slide we're

19   going to look at the deposit copy again and we'll see there are

20   only four chords.

21   Q.   If we can proceed to the next slide, please.

22   A.   I guess it's the one after this.

23             This is just expounding a little bit further on --

24   this is taken from my report.       I don't think we need to go into

25   all this verbiage.       It's basically just repeating what I said

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1    in my report about it being the same thing no matter how it is

2    notated.

3               THE COURT:    Your point is that cutting it in half does

4    not destroy the similarity between the two songs?

5               THE WITNESS:    All the relationships remain exactly the

6    same in a way.     It's very much like putting the two songs in

7    the same key, which is something we all do when we're

8    comparing.

9               The next slide will show there are only four chords in

10   Let's Get It On.     The first four chords are circled in green

11   and then the next four I did in blue, just so you can see it

12   quickly, and then the next four I did in green again, the next

13   four in blue, the next four in green.

14              It's very clear that we're just talking about four

15   chords in Let's Get It On.

16   Q.   Do you have an audio sample?

17   A.   It's just notated a little differently.             No, I don't think

18   we need to play that now.

19              MS. FARKAS:    Well, I mean, if you're going to play it

20   for the jury, we would like to hear it.

21   A.   No, we don't need to play that.

22   Q.   Could you explain to the court what you've done in this

23   slide number 41, what this analysis means?

24   A.   It's just another way of depicting what I was just talking

25   about.   So if we count the harmonic rhythm with the slower

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1    tempo -- one, two, three, four -- and then we double it up --

2    one, two, three, four -- you'll hear that, if I clap the

3    harmonic rhythm, it remains exactly the same.

4              One, two, three, four.         One, two, three, four.       One,

5    two, three, four.        One, two, three four.     One, two, three,

6    four.   One, two, three, four.       One, two, three, four.         One,

7    two, three, four.

8              So my clapping remained the same throughout even

9    though the tempo was altered, so this is a way of demonstrating

10   that the harmonic rhythm remains the same.

11   Q.   Could you speak a little bit to the concept of musical

12   architecture?

13   A.   One other thing on that slide, I guess I should point out.

14   The reason why there is two examples here is because, once

15   again, during the first 24 seconds of Thinking Out Loud, the

16   pitch D is not present in any of the transcriptions or even in

17   the sheet music of Thinking Out Loud.          So it's really

18   essentially an F sharp minor chord.          The second chord for the

19   first 24 seconds has no difference basically from the second

20   chord in Thinking Out Loud.

21             Yes, we can go on.

22   Q.   If you could speak to musical structure or architecture?

23   A.   Sure.   Most musical compositions are built from sections of

24   music that repeat, so composers don't generally just compose

25   new material all the time.        Repetition is an important musical

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1    building block.

2    Q.   Some of these terms speak for themselves, such as intro or

3    outro, but could you describe for the court what a precourse or

4    a bridge or interlude is?

5    A.   Sure.   A lot of contemporary pop songs have a little more

6    complicated structure.      Not only that, before that existed as

7    well, but an intro is an introductory section.            It is then

8    often after the verse, before the chorus is heard, there is a

9    prechorus.

10             And sometimes songs have bridges that are sort of a

11   section of the song that leads to a new -- takes you away from

12   the song for -- takes a brief detour and then you go back to

13   the song itself.

14             Interludes, which are sections in the middle of a

15   piece that might have a guitar solo or some other something

16   else that's different than is happening in the rest of the

17   song.

18             And then finally the outro would be the ending.

19             The next slide will kind of walk through -- we'll get

20   a roadmap of the two songs as provided by the musicologists for

21   the defense.    I don't have any argument with it.           I think it's

22   useful for us all to understand what we're talking about is, we

23   compare these two songs, how they are structured, and so we're

24   going to be referring to these structures for the next few

25   days, I would presume.

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1               The only thing I've done here is added some times to

2    the computer-generated recording of the deposit copy that was

3    produced by the defense.

4    Q.   For the record, the times that you're referencing on this

5    particular slide, those are, for instance, chorus -- that is

6    where the chorus starts when it says 24?

7    A.   Yes, 24 seconds in.

8    Q.   OK.

9    A.   So if we listen to the next slide, it will give us Let's

10   Get It On.    The deposit copy recording generated, I presume, by

11   some kind of artificial intelligence or computer by the defense

12   in order to represent the sounds on the deposit copy, I don't

13   really have a problem with.       I don't think there are notes on

14   this that are not present on the deposit copy, but we'll come

15   back to this in a minute.

16              Let's listen to this.

17              (Audio played)

18              Bridge.   Apparently there's a bit of a glitch there,

19   but...

20   Q.   For the record, that was a computer-generated audio

21   recording?

22   A.   Yeah.   I'm not sure how they produced that, but it doesn't

23   sound like a human singing it.

24   Q.   OK.   Could you explain slide 45?

25   A.   Yeah.   So obviously the vocal quality is one thing in that

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1    recording, but I wanted to point out something of their choice

2    in terms of representing the chords that are in the deposit

3    copy.

4              Now, they did pick all of the notes that are indicated

5    by the chord symbols, but they did something that kind of makes

6    me shudder.    It's not something that any pianist with any

7    competence would do.        That's basically --

8              If I may move to the piano again for a second.

9              So the first two chords are in root position.              In

10   fact, all of the chords are in root position, so they go...

11             (Keyboard played)

12             But this chord just -- the voice leading is all wrong

13   and it just jarring to me as a musician.           That repeats

14   throughout almost the entire song, and I don't know why they

15   made that choice.        Maybe the person who made this was not a

16   musician or not a pianist, obviously.          But it really makes the

17   composition, as embodied in the deposit copy, sound -- well,

18   use your own adjective.

19             Let's play the examples.        Please go back.       So the

20   chords in defendant's rendition of the deposit copy are what

21   you hear here.

22             (Audio played)

23             That last chord, the fourth one.

24             Keep going.

25             (Audio played)

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1              So that was the choice that was made.            I'm not sure

2    why.   Not for musical reasons.         But here are some other

3    variations that could have been chosen that remain absolutely

4    faithful to the deposit copy.       There is not a single pitch or

5    note that is not indicated by the notation in the deposit copy.

6              So listen to these possibilities out of many.

7              (Audio played)

8              So ...

9              MS. FARKAS:     Your Honor, just to the extent that he is

10   now including bass notes in these new performances that I don't

11   think we have seen before, I believe this entire piece is new.

12   I don't think -- maybe Mr. Frank can tell me if I'm wrong.

13             I don't think we have seen this before.             And what

14   Dr. Stewart is doing is, once again, trying to put a bassline

15   into the deposit copy when none exists.           So I can't say right

16   now, since we're seeing this for the first time, whether I'm

17   going to object or agree to his own choices of variations that

18   perhaps could have been in there.          I guess we'll deal with that

19   if this slide gets in at all.

20             But the notation of a bassline, which are those single

21   notes that he has now put and presumably playing underneath the

22   new chords, that he is presenting for the first time on the

23   first day of trial six years into this case, is a little

24   distressing and we object.

25             MR. FRANK:     I don't think Dr. Stewart suggested that

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1    the bassline on the proposed alternates is part of the deposit

2    copy.   I think he was just making a point about the choices

3    made for the audio recording.

4              MS. FARKAS:     I think Mr. Frank just proved my point,

5    it's not part of the deposit copy.        It should not be on here

6    and should not be being played while these chords are being

7    played.

8              MR. FRANK:     I think his point is --

9              MS. FARKAS:     He wants to present chords he thinks are

10   substitutes, or whatever word he wants to use, for what has

11   actually been depicted as in the deposit copy.            I think that's

12   one thing.

13             MR. FRANK:     I think Ms. Farkas just made my point.

14   The notes -- the point that Dr. Stewart is making is that the

15   choices that they made in the audio recording that they created

16   have additional notes that aren't embodied in the deposit copy

17   either.

18             MS. FARKAS:     We don't notate or have in the rendition

19   of the deposit copy a bassline.

20             MR. FRANK:     You're missing the point about the

21   additional notes in the first example.

22             MS. FARKAS:     No.   Look, Dr. Stewart is free to

23   testify --

24             MR. FRANK:     That was OK because that one is altered by

25   you guys?

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1              MS. FARKAS:       I'm not done.

2              MR. FRANK:       But this one isn't OK.          Let's see.

3              MS. FARKAS:       Let's not interrupt each other, OK?

4              MR. FRANK:       Sure.

5              MS. FARKAS:       We're not talking about -- if he wants to

6    present, you know, alternate chords that he thinks exist in the

7    deposit copy, we'll deal with that on cross.                Although I would

8    like advanced notice and not having this for the first time

9    now.

10             But it's the bassline.         Let's just focus on the

11   bassline, which it's the second line.           You see how the first

12   line only has the treble clef, and then these few possible

13   variations he is now presenting have not only the treble -- I

14   can walk up and point if your Honor would like.                It's that

15   bottom line, sort of looks like a nine at the beginning, if you

16   know what a bass clef is.          Those notes, that is a bassline.

17             There is no bassline in the deposit copy.               Your Honor

18   has held that multiple times.          You have also held multiple

19   times he is not to testify about or present to the jury a

20   bassline.    That's it.

21             MR. FRANK:       Dr. Stewart.

22             THE COURT:       It would be more effective if you do it on

23   cross and ask him where the bassline came from.                The need to

24   compress a whole legal argument into one objection is almost

25   impossible to do.        I frequently made the point that you're

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1    referring to that the bassline is not to be used as a source of

2    reinforcement or explanation or combination with the deposit

3    copy.    I would expect you to ask him how he reconciles that.

4               While you're thinking of it, how do you reconcile it?

5               THE WITNESS:    Yes.   Thank you for asking that, because

6    as I said in this, I think the most important point -- none of

7    these notes, not one, is not indicated in the deposit copy

8    because that's not really a bassline.         It's just the root note

9    of each chord.     The root note, and the root notes are on the

10   bottom of each of their chords also.

11              So I've just added a root note in the bass clef.              A

12   bassline might have a lot more notes than just these basic

13   roots.

14              THE COURT:    Where do you find the root note?

15              THE WITNESS:    So on a D major chord, the root is D.

16   So I have a D on the bottom of that chord, as they do too.

17   I've only put the D an octave lower.         I don't characterize this

18   as the bassline.     It's just the roots of each chord being

19   sounded at the same time as the chord.

20              THE COURT:    And you're taking that out of the

21   designation in the deposit copy?

22              THE WITNESS:    Absolutely.    100 percent.       It's no

23   reference at all to any sound recording.          It's 100 percent out

24   of the deposit copy.

25              MS. FARKAS:    Your Honor, this is the exact argument

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1    that he made and plaintiffs made and you've rejected in your

2    prior orders.    They argued previously, and your Honor has

3    already ruled, they argued that things, that these things are

4    implied in the deposit copy.       They said a bassline is implied

5    in the deposit copy because it's the lowest note or they came

6    up.

7              Your Honor noted at the time that you rejected that

8    argument, that there is more than one way to -- more than one

9    way to perform a bassline, more than one way to do something.

10   And if it's not expressed in the deposit copy, it is not part

11   of this case.

12             And, once again, they are trying to confuse the jury

13   and get it in.

14             THE COURT:     Would you point to where it is in the

15   deposit copy?

16             THE WITNESS:     Yes.

17             So if you go back one slide, please.           Two slides.     One

18   more, please.    One more.    One more.

19             There.    So there is the first page of the deposit

20   copy.   Circled in green is the chord symbol E flat.            The root

21   note of E flat is E flat major is E flat.

22             So in their rendition of Let's Get It On, they also

23   have an E flat on the bottom of the chord.           The next chord is G

24   line.   Of course we're talking in the key of E flat major, not

25   in D anymore.    But the next chord is G minor, and so G is just

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1    a note in the chord.      In fact, it's the most obvious note, it's

2    the root, and so on.

3               THE COURT:    Ms. Farkas, what do you think is in those

4    circles?

5               MS. FARKAS:    Those are the chords.          Obviously we all

6    agree that the chords are at issue here.          The chords are in the

7    deposit copy.    That's largely what this case is about.

8               But let's go back to slide 45, please.            And I'm using

9    a pointer here.

10              Can you see this, your Honor?        If you look at this big

11   screen here.    If you look at the large screen, do you see the

12   green light?

13              So this line here, this whole thing here and this

14   whole thing here, I would like -- this is not -- there is no

15   bassline.    This treble right here, this whole staff, this whole

16   line and all of these notes are not notated in the deposit

17   copy.   It's these chords that he's claiming are reflected by

18   these letters.     This is what is in the deposit copy.            See how

19   we have this here, but it's not notated in the deposit copy.

20              If you want to go back to the deposit copy, we can.

21              THE COURT:    It says chords in defendant's rendition of

22   deposit copy.    Is that the same as being actually in the

23   deposit copy?

24              MS. FARKAS:    That's correct.

25              While the actual notes of the chord are not notated

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1    out, the chords are.      These are just the notes that make up the

2    D chord.    These are the notes that make up the F sharp chord.

3    If you look at the deposit copy, you'll see a D and an F sharp.

4               But this, there is not -- it's nowhere notated in the

5    deposit copy.    And this, all of this was the subject of your

6    Honor's prior rulings.

7               MR. FRANK:    Actually, if I may, your Honor.

8               MS. FARKAS:    There is no bassline.

9               MR. FRANK:    They are conflating rulings in the

10   parallel litigation Structured Assets with the ruling in this.

11              The issue in this case, your Honor, is Ed Sheeran,

12   when he testified in this case in the deposition, he was asked

13   whether he played bass guitar.          And he said, No, I learned how

14   to play from playing guitar because playing bass is exactly the

15   same as guitar.     You play the note, you play the G chord, G

16   major chord and the note chord.          The bass note correlates

17   exactly with the G major chord.

18              He said, he himself said at his own deposition, that

19   the bassline tracks the chord and the bassline is comprised of

20   the root notes of the chords.       That is the point we're making.

21              THE COURT:    How many ways are there of making an F

22   sharp chord?

23              MS. FARKAS:    I wish I could answer that question.

24              THE WITNESS:    Your Honor.

25              MS. FARKAS:    The way that it's been notated, I don't

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1    know.

2              This is a new slide.      This has never been an issue

3    Dr. Stewart has raised.

4              MR. FRANK:     Dr. Stewart would probably answer that

5    musicological question.

6              MS. ZAKARIN:     Your Honor, if I may real quickly.

7              I don't think we have an objection to the top line in

8    the bottom here.     This is the treble clef.        The treble clef is

9    clearly notated in the deposit copy.         What we object to is this

10   second line, which is a bass clef.         There is no bass clef

11   whatsoever in the deposit copy.         That has been added by

12   Dr. Stewart.    It's invented.     It's not notated in the deposit

13   copy.   It should not be in this slide and it should not be in

14   this case.    This is fine.    This is fine.      This is not OK.        This

15   is not OK.

16             Dr. Stewart cannot show us a bass clef anywhere in the

17   deposit copy because it does not exist in the deposit copy.

18             MR. FRANK:     It's the exact same note.

19             THE COURT:     Where did that come from, the bass clef?

20             THE WITNESS:     So can I just repeat something your

21   Honor that I said before?

22             THE COURT:     Excuse me?

23             THE WITNESS:     Could I repeat, this is not intended to

24   be a bassline, it's simply the root note of the chord.              So the

25   first chord is D major.      Obviously it contains a D.         That is

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1    the root note.     The bassline in songs is generally not just

2    simple like this, in terms of playing the root note of each

3    chord.   Usually a bassline is going to be more complicated and

4    have more notes.     It's going to be basically another melody,

5    another melody down low on the bass instrument.

6              So this is adding nothing that is not indicated in the

7    deposit copy because every one of those notes --

8              THE COURT:       When you say indicated, it seems to me,

9    quite often, you mean consistent with something that is

10   indicated rather than being specifically indicated itself.

11             THE WITNESS:       Yes, sir.   Yes, your Honor.

12             THE COURT:       I object to that.

13             THE WITNESS:       Well, maybe then it's a poor choice of

14   words.   What I'm trying to say --

15             THE COURT:       It's a poor choice of thinking because it

16   is substituting one thing that isn't there for this case.

17             THE WITNESS:       No.   Every note in this example is from

18   the deposit copy.        There is not one note that anybody can point

19   to that is not indicated or -- I'm sorry -- that is not part of

20   that chord.

21             So, for example, in their version where it says D, the

22   chord symbol D, none of those pitches that they chose are -- I

23   mean, they chose those because those are three pitches in the

24   chord D, and so it's no different than what I've done in terms

25   of picking the notes and the chord and using them.

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1              They had to make certain choices in terms of how to

2    turn this into something that could be audible rather than just

3    purely seen.

4              THE COURT:     Why do they have to do that?

5              THE WITNESS:     I can't answer that.          They made that

6    decision.    We didn't do it, but I think they wanted to be able

7    to have people hear what's in the deposit copy in addition to

8    just see it.

9              I think that's something we need to -- they would need

10   to be asked.    We did not create it.

11             THE COURT:     That does not include making us hear what

12   is not in the deposit copy, although it is consistent with the

13   deposit copy.

14             THE WITNESS:     I don't think they have tried to make us

15   hear anything that is not in the deposit copy.              I've followed

16   this same principle.      I don't want to have anything that's not

17   in the deposit copy --

18             THE COURT:     Obviously --

19             THE WITNESS:     -- in any form whatsoever.

20             We are adhering 100 percent to what is in the deposit

21   copy.   If I wanted to write a bassline, I wouldn't just have

22   the roots of each chord.      I would make up a bassline with more

23   interest.    It would be sort of an independent melody.

24             But this is just the root of each chord.             So from D to

25   F sharp, the bass goes D to F sharp, and from F sharp to G and

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1    so on.    The bass note is exactly just the bottom note of the

2    chord.

3               (Continued on next page)

4               THE COURT:    Why don't you leave it at that?         The

5    bottom note of the chord.

6               THE WITNESS:    Well, that's what it is.       I put it in a

7    different staff.     I put it so it was a lower sound because it

8    has a richer sound.

9               THE COURT:    I see.

10              THE WITNESS:    But it's not intended -- my original

11   point in all of this was how their choices made the chord

12   progression in "Thinking Out Loud" sound very cheesy, if you

13   will, because they didn't follow good voice leading or

14   anything.

15              They intentionally chose, or somehow they ended up --

16   they had to make choices on what that they wanted to use for

17   the chords.    And if we listen again to what they did, it

18   doesn't sound good.      So why did they do that are they

19   wondering?    Maybe that's something for later on to inquire

20   about.

21              But in terms of the choice that they used, it does not

22   sound good, and it's not something that any pianist would ever

23   play.    But every note is from the deposit copy in both of these

24   examples.    There is not one note that isn't.

25              MS. FARKAS:    Your Honor, there are a lot of notes in

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1    the deposit copy.        I don't even know what that means.        If he's

2    he saying that he can just take any notes that exist anywhere

3    in the deposit copy and use them how he wishes, and then it's

4    fair game in this case.        That's not consistent with the rulings

5    in this case.

6               Also he made creative choices when he created this

7    bassline that doesn't exist in the deposit copy.             He just chose

8    to do this particular bassline when he just admitted that there

9    are options available to a performer when performing a

10   bassline.    There are multiple ways to do it.           He chose this

11   way.    None of them exist -- the deposit copy is what it is.

12   We're all bound by it.        It is what it is.

13              What it doesn't have is a bassline.           It doesn't have

14   the bass clef.     It doesn't have any of these notes.          Just to

15   give an example, he goes from the D down to the F in the

16   bassline the first time, and then the third time he goes

17   down -- instead of going up and down, he goes down and up.

18   This is Dr. Stewart's view of the world.           It's not the deposit

19   copy.    We have the sheet music.

20              Can we turn to the deposit copy, please.

21              MR. FRANK:      It's not in the deposit copy.       It's

22   nowhere.

23              MS. FARKAS:      Let's go to slide 40, please.

24              THE COURT:      Does anybody have an exhibit that shows

25   the actual deposit copy?

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1               MS. FARKAS:    Here is the first page of it, your Honor.

2               THE COURT:    This is the deposit copy itself?

3               MS. FARKAS:    That's part of the first page of it, yes.

4    We can put up the whole page if you'd like.             That's what we're

5    talking about.

6               Do you see the E with the flat symbol and the G?

7    That's the chord progression.        We all agree that's the chord

8    version.    We can argue over what notes make up those chords.

9               THE COURT:    But it has a bassline.

10              MS. FARKAS:    No.   That's the vocal note.        Those are

11   the notes that are sung when you sing those words.             There is no

12   actual second line of transcriptions that have the bass the way

13   he does.    It's just the treble.      There's no bass with the

14   bassline.

15              That's already been briefed at length and argued at

16   length and decided.      There is no bassline in this case.          There

17   is no bassline in the deposit copy.         They keep trying to bring

18   it in, and it's not part of the deposit copy.

19              THE COURT:    Go back to the last original.

20              MS. FARKAS:    So these are two different staffs.

21              THE COURT:    Where does this bassline appear from?

22              MS. FARKAS:    I'm seeing it for the first time today.

23   It's from Dr. Stewart.      I don't know.     It's just something he

24   created.

25              MR. FRANK:    The deposit copy itself is in E flat.           It

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1    doesn't say E flat natural.       So you can write the chord any way

2    you want.

3              THE COURT:     Is this something you created?

4              THE WITNESS:     No more so than what they've created

5    because every note --

6              THE COURT:     That's what we call a negative.

7              THE WITNESS:     No.   I have not created anything.

8    Everything, as I said, over and over is 100 percent from the

9    deposit copy.    The D that they're worried about that's in the

10   bass from is indicated by the chord symbol.

11             THE COURT:     You have to wait for a question.

12             THE WITNESS:     Sorry.

13   BY MS. FARKAS:

14   Q.   There is no second staff in the deposit copy.           There is one

15   staff.

16             MR. FRANK:     Your Honor, you can annotate the root

17   notes.   In either clef.      It's the same note.       That's the only

18   point I'm trying to make.        That's it.   It's the same note.

19   When you have a D chord, the note is a D.          The root note is a

20   D.   It follows, the exact harmonic rhythm.

21             If you look at the notes below, he's just saying it's

22   not creating a new bassline.        It is tracking with the chord

23   progression, which is comprised of the root note in each chord.

24             THE WITNESS:     The notes, in their rendition, is not in

25   the deposit copy either.       It says D major.     That's all it says.

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1    It doesn't say those type of notes that they used.

2    BY MS. FARKAS:

3    Q.   That's something that you can and Dr. Ferrera can argue

4    about.    Right?

5              What you can't argue about is the interpretation that

6    you're making.      You decided to use the lower notes of the chord

7    as you say, but that doesn't seem consistent at all.             That's

8    creative choice.

9              But you're saying that someone who performs the

10   deposit copy -- and we all know that performances are

11   human who make creative choices.        That is not in dispute.

12   There is no bass clef in the deposit copy, period.

13             THE COURT:     Is the consequence of that that any of the

14   possible variations would be consistent with or a similar thing

15   or fitting into the pattern of the deposit copy?

16             MS. FARKAS:     Honestly, your Honor, this is brand new.

17   We've never seen it before.       We've never heard him testify or

18   submit any documentation about all these variations on these

19   chords.   So I'm happy to speak with my experts and get back to

20   you later today or tomorrow about it.         But we're seeing this

21   for the first time.

22   BY MR. FRANK:

23   Q.   Dr. Stewart, can you answer that question.

24             THE WITNESS:     Can you repeat it, please.

25             THE COURT:     When you say "faithful" to the deposit

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1    copy, doesn't that mean consistent with, not changing?

2              THE WITNESS:     Exactly.

3              THE COURT:     It would not change the deposit copy.

4    This is more general, and this one is specific.

5              THE WITNESS:     Yes.

6              THE COURT:     I see.   I think a nice jury question.

7              MS. FARKAS:     Your Honor, just so I'm clear, the

8    questions and answers that you just had with Dr. Stewart

9    pertained to the treble line when he's talking about variations

10   on the chords.

11             On that, I don't have a problem with that being the

12   subject of something that the experts can disagree about and

13   there can be evidence.      It's the bassline.      It's that second

14   line of single notes that is not part of that chord

15   progression.

16             MR. FRANK:     Presumably you will have an expert who can

17   opine as to whether they're the same thing or not.            That's what

18   the experts are here for.       Dr. Stewart is giving his opinion.

19   Your expert can be called and give opinion his as well.

20             MS. FARKAS:     I ask that you not interrupt me.

21             This is not part of this case, your Honor.           So, sure.

22   I'm sure Dr. Stewart and Dr. Ferrera can disagree about endless

23   issues on musicology.      We're here to talk about what's at issue

24   in this case and what's in the deposit copy.

25             So that bassline is not in the deposit copy.            It's not

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1    there.    We can look at it.     It doesn't exist.      Dr. Stewart is

2    saying it's implied.      It's one possible thing that could be

3    extracted from it.       It's not there.    So to present it to the

4    jury we think --

5               THE COURT:    I think it is a jury question.        The reason

6    is because it was conceived independently of the sound

7    recording and therefore is not offering a competing source as a

8    result.

9               I think it's ideally set up for cross-examination.           I

10   think, in view of the increasing hour, we've put nothing on

11   that issue.    It's better left.      Tomorrow is another day,

12   another ruling.

13   BY MR. FRANK:

14   Q.   Doctor, if you could proceed to slide number 46 and explain

15   what you've done there.

16   A.   So this is just simply going through "Thinking Out Loud"

17   the same way, so that the jury and the Court can see and hear

18   the form of "Thinking Out Loud."        This is, again, using

19   Dr. Ferrera's analysis of the form and with the timings of each

20   section.

21              If you could please play it.

22              (Audio played)

23              THE WITNESS:    If you wanted to save time -- it's just

24   playing the entire recording of "Thinking Out Loud."

25              MR. FRANK:    In the interest of time, can we go to the

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1    next slide.

2               THE COURT:     Yes.

3               THE WITNESS:     Thank you.

4    BY MR. FRANK:

5    Q.   What have you done here with respect to the deposit copy,

6    Dr. Stewart?

7    A.   So this slide compares the first melodic phrase of "Let's

8    Get It On" from the deposit copy with the first melodic phrase

9    of the verse in "Thinking Out Loud."         Let's give it a listen.

10              (Audio played)

11              MR. FRANK:     Let's proceed to slide number 48, please.

12   Q.   Could you describe for the Court your analysis here.

13   A.   This was just an attempt by me to reduce a little bit of

14   the clutter that's in the notes on the deposit copy because

15   they're inaudible.       There are some 30-second and 16th notes in

16   the deposit copy that are impossible to hear at that tempo,

17   especially when you're hearing them on a vowel that's being

18   stretched.    It's not even a consonant.       So you can certainly

19   try.   To try to sing a 30-second note is unthinkable, a 10th of

20   a second at this tempo.

21              To distinguish separate notes from the same pitch are

22   not -- it's not humanly perceivable.         Let's listen to it and

23   compare.

24              So the top example is the example as exactly as

25   written in the deposit copy, and the bottom example is the

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1    audible notes.     And I think that there is no perceivable

2    difference.

3              If you could play it, please.

4              (Audio played)

5              MS. FARKAS:     So, your Honor, we have an objection to

6    this slide because the second example removes 2 of the 14 notes

7    that are actually in the deposit copy.         He also changes the

8    rhythmic duration of some of the notes.

9              So essentially, while the top example is actually

10   what's in the deposit copy, the bottom is not what's in the

11   deposit copy.    In fact, last month, your Honor, when you

12   granted our seventh motion in limine, based on another

13   performance of the deposit copy, two different ones that the

14   plaintiffs tried to get in, you ruled that omissions,

15   additions, and errors in the creation of those exhibits render

16   them unreliable and admissible.

17             That's exactly what they're doing here.           He has

18   admittedly taken out two notes that he claims are inaudible.

19   This is sheet music.      They're there.     It has nothing to do with

20   whether it's audible or not because we're talking about things

21   written down on a piece of paper, sheet music.           He's taken 14

22   notes and made it 12.

23             MR. FRANK:     I think what she was referring to was a

24   live performance by a guitar player which was excluded by the

25   Court.   What we're talking today about here today actual sheet

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1    music.

2               Dr. Stewart disclaimed the section on the bottom

3    specifically by saying -- explain the methodology of what he

4    did.   He's trying to explain say how the notes, the weight of

5    the notes relative to one another.

6               He's certainly entitled to do that.          As part of his

7    analysis, he hasn't suggested that the bottom demonstrates the

8    deposit copy.    He's using that as an analysis to demonstrate

9    the weight of the notes and their relationship to one another,

10   which he's perfectly able and allowed to do.

11              MS. FARKAS:    But he's also playing a recorded

12   performance of it.       He's playing audio of the altered,

13   manipulated melody that does not exist in the deposit copy on

14   the second transcription.       He's playing audio along with it.

15              MR. FRANK:    Presumably that's what the jury is going

16   to hear.    They're going to be hearing music.          They're not going

17   to be able to read music.       This would be an excellent aid, I

18   would think, for the jury to actually hear the point that he's

19   trying to make or illustrate that.

20              I think it's unreasonable, especially after we've been

21   through jury selection, to ask laypeople to read the changes in

22   the music nomenclature.       The best way is to play the music.

23              He's explained and specifically given a preamble to

24   say, I've done this to it.       here's why.    Here is my

25   methodology, again, not suggesting that this constitutes the

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1    deposit copy.    We're just trying to make a point about the

2    interrelationship of the notes and the weight of this.

3              MS. FARKAS:     The bottom transcription and the audio

4    recording that they want to play for the jury does not

5    accurately reflect the deposit copy.         It does.

6              MR. FRANK:     Amen.

7              MS. FARKAS:     We should be doing nothing other than

8    hearing and analyzing what's actually in the deposit copy.

9              THE COURT:     I think that's a point that should be

10   safely reserved for trial.

11   BY MR. FRANK:

12   Q.   Dr. Stewart --

13             If you could go to the next slide here.

14             It's entitled pitch sequences.

15             What exactly did you do here with regard to melodic

16   similarities?

17   A.   Well, at the beginning of the session today, I talked about

18   pitch sequences and using numerals to represent the pitches.

19   Q.   That's embodied by the numerals at the bottom of that

20   slide; correct?

21   A.   That's correct.     The Arabic numerals at the bottom give the

22   pitch numbers, and they're also indicated underneath the notes

23   in each example.

24   Q.   What were you trying to accomplish here or demonstrate with

25   these two samples?

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1    A.   Just to illustrate the similarity between these two

2    phrases.    I did one other thing here, because I think that it's

3    a valid way to compare these two melodies because, for example,

4    if this were taken from "Let's Get It On," then it's certainly

5    possible that the last note was left off of the taking.

6               So I wanted to hear what it sounds like without the

7    last note.    That's all I've done here.       I've been explicit

8    about what I did so that people could hear.

9               I'm reminded of this case that was just in the news

10   about a tractor-trailer that was robbed of 10,000 dimes or

11   $200,000 worth of dimes, and the thieves left behind $500,000

12   worth of dimes because they couldn't carry them or for whatever

13   reason.

14              But I think once they're apprehend, which they

15   certainly will be, because what are you going to do with all

16   those dimes, their defense cannot be, well, we didn't take all

17   the dimes.    So my attempt here is to just show that that one

18   final note not being present yields an interesting comparison.

19   BY MR. FRANK:

20   Q.   And do you have audio samples to demonstrate that?

21   A.   Yes, I do.

22              MS. FARKAS:    Your Honor, I object.         That entire

23   recitation of a case about a case that has something nothing to

24   do with this case I think is irrelevant and should be stricken

25   tomorrow if it comes up.

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1              And I also want to note that -- it may be consistent

2    with what your Honor said about the last slide.            This one also

3    now eliminates three notes and changes the rhythmic variation

4    from the deposit copy.

5              THE COURT:     This is a good example of what the parties

6    may perfectly well claim is a misrepresentation of the actual

7    fact and a distortion of the process of analyzing it.             That,

8    seems to me, to be true of a great many of the things that

9    we've heard today.

10             They are of much less interest to me today because the

11   error does not spring from the Gaye product.            It springs from

12   an independent error in the thinking process.            All I'm really

13   interested in for today, because it is going to come up very

14   soon before the jury, is whether the Gaye product is being used

15   in the ways that I have forbidden it to be done.

16             That does not seem to be invoked in this situation

17   and, therefore, much less worth making a fuss about at this

18   hour of the day when it really is going to be revealed during

19   trial and should be handled in cross-examination.

20             Does that clear it up?

21             MS. FARKAS:     Yes, your Honor.

22             THE COURT:     Thank you.

23             MR. FRANK:     Based on your comments, your Honor, the

24   issues that were brought up specifically by the defendants that

25   prompted the hearing we're having now were related to

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1    references and the proposed slides to bassline and drums.

2              We have since culled those from our proposed slides.

3    There is no testimony from Dr. Stewart that's going to be

4    proffered regarding any bass or drums in "Let's Get It On."

5    We've taken them all out.

6              We still have 40 some odd more slides.          So I'm

7    reluctant to keep going, your Honor.         Based on what you just

8    said.   We can review with the other side.         I'll be happy to go

9    forward if you'd like me to.       But we can show them our slides

10   that dealt with the history of --

11             THE COURT:     What's your point?

12             MR. FRANK:     I was wondering if it might be more

13   efficient for the Court's time if we just showed them the

14   specific slides that we plan to show tomorrow, take a

15   ten-minute break and show them, and see if we can identify or

16   isolate what they are.      And then we can determine whether

17   they're admissible or not.

18             Do you have an objection?

19             That might be given a more efficient use of the

20   Court's time based given the fact that I think based -- we're

21   going to hear a lot of the same objections, but their real

22   concern is the bassline and the drums.

23             MS. FARKAS:     Correct.

24             THE COURT:     Is it worth a try?

25             MS. FARKAS:     Yes.   Why don't we take five minutes, and

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1    I'm curious.    Sure.    I think that would be productive.

2              MR. FRANK:     We just want to spare the Court another

3    two hours if we can.

4              THE COURT:     It's 10 of 5:00 now.      Maybe we've covered

5    enough ground, and you can always resume with the trial

6    tomorrow morning.

7              MR. ZAKARIN:     We'll look at this and see if that makes

8    sense.   I think the only point we were making on these slides

9    is that they're altering what appears in the deposit copy and

10   comparing that altered version to "Thinking Out Loud."

11             Your Honor's view -- and we accept it -- is that we

12   can bring out that alteration in cross-examination, and that

13   what they're trying to do is create similarly by altering the

14   deposit copy that doesn't exist.        That's an effective thing to

15   do, and we'll do that, your Honor.

16             THE COURT:     I regard all things such as altering the

17   evidence as being an inherent part of the trial, and it ought

18   to be exposed and fought out before the jury so the jury is

19   better informed as the case goes along.

20             What I was interested in doing was heading off any

21   issues which could not be cured and should not be handled in

22   the same way.    It seems to me that we've probably defined and

23   beaten that to death, and maybe it will be adhered to tomorrow.

24   He's not going to testify tomorrow.

25             Is that right?      I thought he was going to be his first

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1    witness.

2               MR. FRANK:    The plaintiff will be the first witness,

3    Kathy Griffin Townsend.       She will be our first tomorrow.

4               THE COURT:    Okay.   When the doctor comes back.

5               MR. FRANK:    We likely would get to Dr. Stewart either

6    late Tuesday or early Wednesday.

7               THE COURT:    Well, the point is that I think that the

8    distinction and the reasoning behind it has been made painfully

9    clear.   And if it is breached upon his return to the jury, I

10   don't see any reason why the response from the bench should not

11   be summary.    As I say, I would allow cross-examination before

12   he actually deploys.

13              MR. ZAKARIN:    Understood, your Honor.

14              THE COURT:    But I would consider that a

15   situation-demanding determination of his testimony.

16              MR. ZAKARIN:    Thank you, your Honor.

17              MR. FRANK:    Thank you, your Honor.

18              THE COURT:    We'll resume at 11:00 tomorrow.

19              MS. FARKAS:    I do agree with Mr. Frank that I think

20   the vast majority of what remains I think falls into that same

21   category.    And we can, for lack of better words, skip over it.

22   There are two other issues relating to the remaining slides.

23   If I could have three minutes with Mr. Frank and a few minutes

24   with my colleagues, I think it's well worth raising today.              I

25   think it would be brief, but they're of a different variety.

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1    They would be brief.

2              THE COURT:     What are the two issues?

3              MS. FARKAS:     One of the issues is that there are

4    portions of Dr. Stewart's proposed remaining testimony that

5    relate to prior art and anticipated testimony of Dr. Ferrera.

6              The plaintiffs have the burden of proof -- evidence

7    that they are anticipating that Dr. Ferrera will be testifying

8    about.   The plaintiffs have the burden of proof to make out a

9    prima facia case.

10             Part of the plaintiffs' burden of proof is to prove

11   that the combination of elements that they have placed in issue

12   that are in the deposit copy are unique and original to "Let's

13   Get It On."    As your Honor will recall, Dr. Stewart is

14   prohibited from testifying about any sort of prior art searches

15   because of his failure --

16             THE COURT:     What's your point?

17             MS. FARKAS:     My point is that we are concerned that

18   they are trying on their case to fill evidentiary gaps that

19   Dr. Stewart is not allowed to testify about by anticipating

20   prior art that Dr. Ferrera may or may not testify about.

21             It is their case.      They have the burden of proof.         He

22   should not be permitted to anticipate what Dr. Ferrera might

23   say on areas that he has been prohibited from testifying about.

24             THE COURT:     What do you want me to do?

25             MS. FARKAS:     I want to prohibit him from testifying

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1    about things that Dr. Ferrara might say about examples of prior

2    art so that he can try to rebut it based on evidence that's not

3    in the record at this point.       It's rebuttal evidence is my

4    point.

5              THE COURT:     We will to that bridge when Dr. Ferrera is

6    called as a witness and evidence is offered to which you want

7    to object on those grounds.

8              MS. FARKAS:     The other issue is the mash-up.         You have

9    our motion in limine on that issue.         There is a slide in the

10   remaining slides that apparently Dr. Stewart is going to

11   testify about the mash-up.       You have our motion on that.

12   That's just a remaining issue that hasn't been ruled upon yet.

13             THE COURT:     What do you want me to do about that?

14             MS. FARKAS:     We have made a motion to exclude this

15   melody performance as irrelevant and prejudicial.

16             THE COURT:     I think I'll reserve that question until

17   it comes up at trial.

18             MS. FARKAS:     Sure, but it's coming up.

19             THE COURT:     I've been here all day, and I haven't

20   heard a thing about it.

21             MS. FARKAS:     Your Honor, I simply thought that part of

22   the purpose of today was to raise these issues now so that, to

23   the extent you wanted to limit them, you would limit them

24   before they came up before the jury.         We're happy to wait for

25   tomorrow or whenever he testifies.

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1              THE COURT:     No.   I called this hearing for the reasons

2    I stated at the beginning and not merely to give a series of

3    advisory opinions.

4              MS. FARKAS:     Fair enough, your Honor.       Thank you.

5              MR. FRANK:     Thank you, your Honor.

6              THE COURT:     See you tomorrow.

7              (Adjourned to April 25, 2023, at 11:00 a.m.)

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